Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

¥. ) Case No. 20-CR-00170-CVE
)
RANDY PAUL SHELBY, Jo, )
)
Defendant. )

PLEA AGREEMENT PURSUANT TO
FEDERAL RULE OF CRIMINAL PROCEDURE 11(c)(1)(C)

The United States of America, by and through R. Trent Shores, United States
Attorney for the Northern District of Oklahoma, and Robert T. Raley, Assistant United
States Attorney, and the defendant, RANDY PAUL SHELBY, in person and through
counsel, William Patrick Widell, Jr., respectfully inform the Court that they have reached
the following plea agreement, pursuant to Fed. R. Crim. P. 11(c)(1)(C).

1. Plea

The defendant agrees to enter voluntary pleas of guilty to the following:

COUNT 1
False Information About Bombs in Courthouse-
18 U.S.C. §1038(a)(1)

as set forth in the Indictment in the instant case, Northern District of Oklahoma, and admits

to being in fact guilty as charged in the counts to which the defendant is pleading guilty.

Revised 02-28-20 (11c1C) lJ oo
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 2 of 16

2. Waiver of Constitutional Rights

 

The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:

a. the right to be indicted if proceeding by Information;

b. the right to plead not guilty;

e. the right to be tried by a jury, or, if the defendant wishes and with the consent
of the Government, to be tried by a judge;

d. at trial, the defendant has the right to an attorney, and if defendant could not
afford an attorney, the Court would appoint one to represent the defendant;

é. the defendant has the right to assist in the selection of the jury;

E. during trial, the defendant would be presumed innocent, and a jury would be
instructed that the Government has the burden to prove the defendant guilty beyond a
reasonable doubt and by a unanimous verdict;

g. the defendant has the right to confront and cross-examine witnesses against
the defendant;

h. if desired, the defendant could testify on the defendant’s own behalf and
present witnesses in the defendant’s defense;

i. if the defendant did not wish to testify, that fact could not be used against the
defendant, and a jury would be so instructed;

j. if the defendant were found guilty after a trial, the defendant would have the
right to appeal that verdict to determine if any errors had been committed during trial that
would require either a new trial or a dismissal of the charges; and

k. at trial, the defendant would be entitled to have a jury determine beyond a
reasonable doubt any facts which may have the effect of increasing the defendant’s
mandatory minimum or maximum sentence.

i any rights and defenses defendant may have under the Excessive Fines
Clause of the Eighth Amendment to the United States Constitution to the forfeiture of

2

Revised 02-28-20 f Ss

Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 3 of 16

property in this proceeding or any related civil proceeding, special or other assessment, and
any order of restitution.

By pleading guilty, the defendant will be giving up all of these rights. By pleading guilty,
the defendant understands that the defendant may have to answer questions posed to
defendant by the Court, both about the rights that the defendant will be giving up and the
factual basis for the defendant’s plea.

5. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the United States in this
plea agreement, the defendant knowingly and voluntarily agrees to the following terms:

a. The defendant waives the right to directly appeal the conviction and
sentence pursuant to 28 U.S.C. § 1291 and/or 18 U.S.C. § 3742(a); except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory maximum;

b. The defendant expressly acknowledges and agrees that the United States
reserves all rights to appeal the defendant’s sentence as set forth in 18 U.S.C. § 3742(b),
and U.S. v. Booker, 543 U.S. 220 (2005); and

C. The defendant waives the right to collaterally attack the conviction and
sentence pursuant to 28 U.S.C. § 2255, including any assessment, forfeiture, restitution
order, the length of term of supervised release and any condition of supervised release,
except for claims of ineffective assistance of counsel.

The defendant expressly acknowledges that counsel has explained his appellate and

post-conviction rights; that the defendant understands his rights; and that the defendant

knowingly and voluntarily waives those rights as set forth above.

 

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Revised 02-28-20

Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 4 of 16

4, Departure and Variance Waiver

 

In consideration of the promises and concessions made by the United States in this
plea agreement, the defendant knowingly and voluntarily agrees to the following:

a. the defendant agrees not to request, recommend, or file a motion seeking a
departure from the Guidelines range; and

b. the defendant agrees not to request, recommend, or file a motion seeking a
variance below the Guidelines range pursuant to the § 3553(a) factors.

5. Freedom of Information Act Waiver

 

The defendant waives all rights, whether asserted directly or by a representative, to
request or to receive from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case including, without limitation, any
records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the
Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

 

The defendant knowingly and expressly waives all of the rights afforded defendant
pursuant to the provisions of Rule 11(f) of the Federal Rules of Criminal Procedure. In
other words, after entry of a plea made pursuant to this plea agreement, and in consideration
thereof, the following shall be admissible against the defendant:

a. A plea of guilty which is later withdrawn or which the defendant seeks to
withdraw, unless done pursuant to Fed. R. Crim. P. 11(c)(1)(C);

b. Any statement made in the course of any proceeding under Rule 11 regarding
said plea of guilty;

C. Any statement made in the course of plea discussions with an attorney or
agent for the Government, or which were made pursuant to a proffer letter agreement,
4

Revised 02-28-20
Deéfendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 5 of 16

which result in a plea of guilty later withdrawn, unless done pursuant to Fed. R. Crim. P.

11(c)(1)(C).

he Waiver of Right to Jury Trial on Sentencing Factors

The defendant, by entering this plea, also waives the right to have facts that
determine the offense level under the Sentencing Guidelines (including facts that support
any specific offense characteristic or other enhancement or adjustment) (1) charged in the
Indictment, (2) proven to a jury, or (3) proven beyond a reasonable doubt. The defendant
explicitly consents to have the sentence based on facts to be established by a preponderance
of the evidence before the sentencing judge pursuant to United States v. Crockett, 435 F.3d
1305 (10th Cir. 2006), and United States v. Magallanez, 408 F.3d 672 (10th Cir. 2005),
and to allow the Court to consider any reliable evidence without regard to its admissibility
at trial. The defendant explicitly acknowledges that his plea to the charged offense
authorizes the Court to impose any sentence up to and including the maximum sentence
set forth in the United States Code. The defendant also waives all challenges to the
constitutionality of the Sentencing Guidelines.

8. Payment of Monetary Penalties

The defendant understands that the Court may impose a fine pursuant to the
Sentencing Guidelines. The defendant agrees, as a part of this agreement, to submit to
interviews by the United States Attorney’s Financial Litigation Unit regarding the
defendant’s financial status, and to complete and submit a financial statement, under oath,
not later than two weeks after the date of this plea agreement. The defendant understands
that, by law, interest accrues on any remaining balance of the debt.

5

Revised 02-28-20
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 6 of 16

That monetary penalties imposed by the Court will be (i) subject to immediate
enforcement as provided for in 18 U.S.C. Section 3613, and (ii) submitted to the Treasury
Offset Program so that any federal payment or transfer of returned property the defendant
receives may be offset and applied to federal debts but will not affect the periodic payment
schedule.

9. Special Assessment

The defendant hereby agrees to pay the total amount required for the Special
Monetary Assessment ($100 per felony count) to the United States District Court Clerk
before the time of the sentencing hearing or as directed by the District Court.

10. Factual Basis and Elements

 

The elements that the United States must prove beyond a reasonable doubt in order

to convict under 18 U.S.C. §§ 1038(a)(1), are as follows:

a. Transmits in interstate or foreign commerce;

b. Any communication containing false or misleading information relating to
bombs,

G, Such that any reasonable person would believe the information relating to

bombs would be in fact true, and:

d. Relating to an act that would constitute a violation of Chapter 40 of Title 18,
United States Code, and specifically Section 844(4).

The elements that United States must prove beyond a reasonable doubt in order to

convict under 18 i § 844(1), are as follows:
1, that another person
would maliciously attempt to damage or destroy the Tulsa County

a”
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Courthouse;
6
Revised 02-28-20 KS

Defendant's Initials

 
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 7 of 16

b. That the attempt to do so would be by means of an explosive device;

c. At the time of the attempt, the Tulsa County Courthouse was used in
interstate commerce;

d. ‘The attempt occurred in the Northern District of Oklahoma.

In regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea of
guilty and relieves the United States of any further obligation to adduce such evidence.

The defendant, RANDY PAUL SHELBY, admits knowingly, willfully and
intentionally committing or causing to be committed the acts constituting the crime alleged
in the Indictment in the instant case, and confesses to the Court that the defendant is, in
fact, guilty of such crime.

I, RANDY PAUL SHELBY, admit that on or about July 7, 2020, in
the Northern District of Oklahoma, I engaged in conduct, by calling in a hoax
bomb threat. Specifically, on July 7, 2020, at approximately 11:12 p.m., I
placed a telephone to the Tulsa Police Department’s (TPD) non-emergency
number at (918) 596-9222, in Tulsa, Oklahoma to report a bomb threat at the
Tulsa County Courthouse. During this telephone call I told the dispatcher
that an individual named B.B. was a member of the “Banditos” Motor Cycle
Club, and that he has been making bombs. I further advised that I had been
to B.B.’s house and have seen the bombs. I further advised that B.B. planned
to detonate a bomb at the Tulsa County Courthouse on July 8, 2020 at 11:00
a.m. I knew that this was untrue and that B.B. never had a bomb nor intended
to detonate one at the Courthouse.

Thus, the information about the bomb that I gave to the TPD
dispatcher was false. I knew or had reason to believe that the person who
received my telephone call would reasonably believe that the bomb threat
was real and that a bomb was going to be detonated at the Courthouse. After
I placed the telephone call, the Courthouse was evacuated and searched by
law enforcement. There was no such device located. I understand that the act

2

Revised 02-28-20 ——}
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 8 of 16

about which I conveyed false information would constitute a violation of
Chapter 40 of Title 18 of the United States Code, specifically, section 844(i).
Further I anticipated that any reasonable person would believe this
information. I knew that it was wrong, illegal, and a violation of State and
Federal Laws to place a telephone call and made a bomb threat.

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DY PAUL SHELBY ‘lf Date
Defendant

  

11. Further Prosecution

The United States shall not initiate additional criminal charges against the defendant
in the Northern District of Oklahoma, as of the date of the defendant’s acceptance of this
agreement, arise from its investigation of the defendant’s actions and conduct giving rise
to the instant Indictment, save and except crimes of violence and criminal acts involving
violations investigated by the United States Internal Revenue Service. The defendant
understands, however, that this obligation is subject to all “Limitations” set forth below,
and that the United States Attorney’s Office for the Northern District of Oklahoma is free
to prosecute the defendant for any illegal conduct (i.e., violation of federal criminal laws)
not discovered by or revealed to the Government during its investigation or occurring after
the date of this agreement.

12. Dismissal of Remaining Counts

If the Court finds the defendant’s plea of guilty to be freely and voluntarily made
and accepts the plea, then the United States will move, at the appropriate time, to dismiss

the remaining counts in the instant case, if any, as to this defendant.

Revised 02-28-20
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 9 of 16

Except as provided in Fed. R. Crim. P. 11(c)(1)(C), if the defendant’s guilty plea is
rejected, withdrawn, vacated, or reversed at any time, the United States will be free to
prosecute the defendant for all charges of which it then has knowledge, and any charges
that have been dismissed will be automatically reinstated or may be re-presented to a grand
jury with jurisdiction over the matter. In such event, the defendant hereby waives any
objections, motions or defenses based upon the applicable statute of limitations, the Speedy
Trial Act, or constitutional restrictions as to the time of bringing such charges.

13. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
United States agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The United States agrees to file a motion recommending that the
defendant receive an additional one-level reduction pursuant to U.S.S.G. § 3E1.1(b) if the
defendant is otherwise eligible therefor. The sentencing judge is in a unique position to
evaluate the acceptance of responsibility, and the Court’s determination will provide the
final approval or disapproval of any Section 3E1.1 point level reduction for timely
acceptance of responsibility.

The obligations of the Government herein, relative to acceptance of responsibility
are contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the United States. If the defendant falsely denies, or makes
conflicting statements as to, his involvement in the crimes to which he is pleading, falsely

denies or frivolously contests relevant conduct that the Court determines to be true,

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Revised 02-28-20

Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 10 of 16

willfully obstructs, or attempts to obstruct or impede the administration of justice as
defined in U.S.S.G. § 3C1.1, or perpetrates or attempts to perpetrate crimes while awaiting
sentencing, or advances false or frivolous issues in mitigation, the United States expressly
reserves the right to withdraw any recommendation regarding acceptance of responsibility
without breaching the agreement.

14. Sentence

a. Imprisonment

The defendant acknowledges that under 18 U.S.C. § 1038(a)(1), the maximum
statutory sentence is not more than five (5) years imprisonment, a fine of not more than
$250,000.

b. Supervised Release

Additionally, the defendant is aware, if imprisonment is imposed, that the Court
shall include as part of the sentence a requirement that the defendant be placed on a term
of supervised release after imprisonment not more than three (3) years.

If the term of supervised release for any count of conviction is revoked, the
defendant may be imprisoned for an additional term not to exceed the term of imprisonment
authorized in 18 U.S.C. § 3583(e)(3) for the offense of conviction, with no credit being
given for any time served while on supervised release. Further, the Court may impose
another term of supervised release following any term of imprisonment imposed for a
violation of supervised release conditions, and this term of supervised release may not

exceed the term of supervised release originally authorized by statute for the offense of

10
Revised 02-28-20
Deféndant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 11 of 16

conviction less any term of imprisonment that was imposed upon revocation of supervised
release (18 U.S.C. § 3583(e) and (h)). Ifa second or subsequent term of supervised release
is revoked, the Court may impose another term of imprisonment not to exceed the
difference between any imprisonment imposed for a prior revocation of supervised release
for the offense of conviction and the term of imprisonment authorized pursuant to 18
U.S.C. § 3583(e)(3). Accordingly, the original term of imprisonment when combined with
any term of imprisonment arising from revocations of supervised release, may result in a
total amount of imprisonment greater than the statutory maximum term for the offense of
conviction.

c. Guidelines

The defendant is aware that the Sentencing Guidelines promulgated pursuant to the
Sentencing Reform Act of 1984 at 18 U.S.C. § 3551 through § 3742, and 28 U.S.C. § 991
through § 998, are advisory. The district courts, while not bound to apply the Sentencing
Guidelines, must consult those Guidelines and take them into account when sentencing.
See 18 U.S.C.A. § 3553(a). The sentence imposed in federal court is without parole.

Nothing in this plea agreement, save and except any stipulations contained herein,
limits the right of the United States to present to the Court or Probation Office, either orally
or in writing, any and all facts and arguments relevant to the defendant’s sentence that are
available to the United States at the time of sentencing. The defendant acknowledges
hereby that relevant conduct, that is, conduct charged in any dismissed count and all other

uncharged related criminal activities, will be used in the Sentencing Guidelines calculation.

11
Revised 02-28-20 es

Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 12 of 16

The United States reserves its full opportunity to speak pursuant to Rule 32(i)(4)(A)Gii) of
the Federal Rules of Criminal Procedure. The defendant further understands that the
sentence to be imposed upon the defendant will be determined solely by the sentencing
judge.

15. Stipulations

The defendant and the United States stipulate and agree as follows:

a. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the appropriate disposition in this
case is a sentence of eight (8) to fourteen (14) months (ZONE B of the U.S.S.G.). This
stipulated sentence departs from the anticipated guideline calculation for the violations to
which the defendant is pleading guilty. The parties have considered various factors in
fashioning this sentence, including the defendant’s acceptance of responsibility, the
strength of the evidence, judicial economy, and the interests of justice. For these reasons,
a sentence of eight (8) to fourteen (14) months (ZONE B of the U.S.S.G.), meets the
sentencing goals for this this type of case and this defendant. The parties agree upon this
sentence regardless of any advisory Sentencing Guidelines calculations.

b. The parties agree that the defendant may withdraw his plea of guilty in the
event that the Court rejects the plea agreement.

& Having been fully apprised by defense counsel of defendant’s right to seek
compensation pursuant to Public Law 105-119, the defendant WAIVES any and all such

right, and stipulates that defendant is not a “prevailing party” in connection with this case.

12
Revised 02-28-20
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 13 of 16

16. Limitations

This plea agreement shall be binding and enforceable upon the Office of the United
States Attorney for the Northern District of Oklahoma, but in no way limits, binds or
otherwise affects the rights, powers, duties or obligations of any state or local law
enforcement agency, administrative or regulatory authorities, civil or administrative
enforcement, collection, bankruptcy, adversary proceedings or suits which have been or
may be filed by any governmental entity, including without limitation, the Internal
Revenue Service, the Tax Division of the Department of Justice and the trustee in
bankruptcy.

17. Breach of Agreement

In the event either party believes the other has failed to fulfill any obligations under
this agreement, then the complaining party shall, in its discretion, have the option of
petitioning the Court to be relieved of its obligations herein. Whether or not a party has
completely fulfilled all of its obligations under this agreement shall be determined by the
Court in an appropriate proceeding at which any disclosures and documents provided by
either party shall be admissible and at which the complaining party shall be required to
establish any breach by a preponderance of the evidence. The defendant hereby WAIVES
any right under Rule 11(d) and (e) of the Federal Rules of Criminal Procedure to withdraw
from defendant’s plea and this agreement, save and except under circumstances where the
Court rejects the plea agreement under Rule 11(c)(5), except for the limited reasons

outlined above in this paragraph, and except as provided in Fed. R. Crim. P. 11(c)(1)(C).

13

Revised 02-28-20
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 14 of 16

Except as provided in Fed. R. Crim. P. 11(c)(1)(C), in the event that RANDY PAUL
SHELBY, after entry of a plea of guilty, unsuccessfully attempts to withdraw the
defendant’s plea of guilty, the United States may continue to enforce the agreement but
will no longer be bound by any particular provision in this agreement. This provision will
not have any continued vitality if it is determined by the Court that the United States acted
in bad faith to bring about the attempted withdrawal of plea.

18. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea agreement
and the Plea Agreement Supplement that the United States will file in this case (as is
routinely done in every case, even though there may or may not be any additional terms)
and none will be entered into unless executed in writing and signed by all of the parties.
SO AGREED:

R. TRENT SHORES
UNITED STATES ATTORNEY

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ROBERT T. RALEY Dated
Assistant United States Attorney

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“4VILLIAM PATRICK WIDELL, JR. Dated /

 

  

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ARANDY PAUL SHELBY Dated
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Revised 02-28-20
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 15 of 16

Defendant

15
Revised 02-28-20
Defendant's Initials
Case 4:20-cr-00170-CVE Document 32 Filed in USDC ND/OK on 11/06/20 Page 16 of 16

| have read this agreement and carefully reviewed every part of it with my attorney.
I understand it, and I voluntarily agree to it. Further, J have consulted with my attorney
and fully understand my rights with respect to sentencing which may apply to my case. No
other promises or inducements have been made to me, other than those contained in this

pleading. In addition, no one has threatened or forced me in any way to enter into this

 
  
 
   
 

y, | am satisfied with the representation of my attorney in this matter.

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NDY PAUL SHELBY Dated
- Defendant

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I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Indictment. Further, | have reviewed the
provisions of the Sentencing Guidelines and Policy Statements and I have fully explained
to the defendant the provisions of those Guidelines which may apply in this case. I have
carefully reviewed every part of this plea agreement with the defendant. To my knowledge,

the defendant’s decision to enter into this agreement is an informed and voluntary one.

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WILLIAM PATRICK WIDELL, JR. Dattd |
Counsel for the Defendant

 

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Revised 02-28-20

Defendant's Initials
